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                                                                               AUG O3 2020
                       UNITED STATES DISTRICT COURT                    JAMESN
                                                                       By:d.i_. ~     17EN, Clerk
                       NORTHERN DISTRICT OF GEORGIA
                                                                                      DepUty Clerk


IN RE: COURT OPERATIONS UNDER
THE EXIGENT CIRCUMSTANCES                                     GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED                                    Sixth Amendment
CORONAVIRUS

                                         ORDER

      General Order 20-01 , dated March 16, 2020, and amended by orders dated March

30, 2020; April 30, 2020 ; May 26, 2020; July 1, 2020 ; and July 10, 2020, addresses Court

operations for the United States District Court for the Northern District of Georgia under

the exigent circumstances created by the spread of COVID-19. The Fifth Amendment to

General Order 20-01 , entered July 10, 2020, extended the time periods specified in the

Order through and including August 30, 2020.

      Data from the Georgia Department of Public Health reflects that the average number

of new COVID-19 cases per day in the State of Georgia has increased and remains higher

than it was on March 16, 2020, when the Court originally entered General Order 20-01. A

July 26, 2020, federal report prepared for the White House Coronavirus Task Force places

Georgia in the red zone for new COVID-19 cases, indicating more than 100 new cases per

100,000 population and in the red zone for test positivity, indicating a positive test rate

above 10 percent. The three Georgia counties identified by the report as having the highest

number of new cases for the past three weeks, accounting for 24.2% of all new cases in

Georgia during that period, are all within the Northern District of Georgia.
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       Data from the Georgia Department of Public Health indicates the number of

confirmed cases per day throughout the Northern District of Georgia is at its highest since

the beginning of the pandemic. The total number of COVID-19 deaths in Georgia and the

Northern District continues to rise, and no vaccine or cure is available to the general public.

There has been no change to the President's declaration of a national emergency under the

National Emergencies Act (50 U.S.C. § 1601 et seq.) due to COVID-19 or to the findings

of the Judicial Conference of the United States that emergency conditions due to this

national emergency have materially affected and will materially affect the functioning of

the federal courts generally. The existing conditions in the Northern District of Georgia do

not meet the gating criteria set forth in the Federal Judiciary COVID-19 Recovery

Guidelines for expanding current Court operations in the Northern District.

       As the adverse conditions giving rise to General Order 20-01 have not sufficiently

resolved for the Court to expand current operations or return to normal operations, IT IS

HEREBY ORDERED that General Order 20-01, as amended, is further amended to

extend the time periods specified therein through and including the date of October 4, 2020.

       IT IS FURTHER ORDERED that while there will be no civil or criminal jury

trials in any division of the Northern District of Georgia until after October 4, 2020, grand

jurors may continue to be summoned and grand jury proceedings may continue to be held;

and summonses may be issued to prospective jurors for civil and criminal jury trials

scheduled to begin after October 4, 2020.



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       IT IS FURTHER ORDERED that the time period of any continuance entered as

a result of this Order (whether that continuance causes a pre-indictment delay or a pre-trial

delay) shall be excluded under the Speedy Trial Act, 18 U.S.C. § 316l(h)(7)(A), as the

Court finds that the ends of justice served by taking that action outweigh the interests of

the parties and the public in a speedy trial. Absent further order of the Court or any

individual judge, the period of exclusion shall be from March 23 , 2020, through and

including October 4, 2020. The Court may extend the period of exclusion as circumstances

may warrant. This Order and period of exclusion are incorporated by reference as a specific

finding under 18 U.S.C. § 316l(h)(7)(A) in the record of each pending case where the

Speedy Trial Act applies. See Zedner v. United States, 547 U.S. 489, 506-07 (2006). The

periods of exclusion in the Court' s prior orders on this subject, General Order 20-01 and

its subsequent amendments, are likewise incorporated by reference as a specific finding

under 18 U.S.C. § 316l(h)(7)(A) in the record of each pending case where the Speedy Trial

Act applies.



       SO ORDERED this _a_ day of August 2020.




                                    THOMAS W. THRASH, JR.
                                    CHIEF UNITED ST ATES DISTRICT JUDGE




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